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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 11-80155-CR-MARRA


  UNITED STATES OF AMERICA,

          Plaintiff,

  vs.

  PAUL JOYCE,

        Defendant.
  _____________________________/

             ORDER AFFIRMING THE MAGISTRATE JUDGE’S REPORT AND
               RECOMMENDATION DENYING MOTION TO SUPPRESS
                         AND FOR A FRANKS HEARING


          THIS CAUSE is before the Court upon the Defendant's Motion to Suppress Evidence

  and for a Franks Hearing [DE 312] and the Magistrate Judge’s Report and Recommendation [DE

  788]. After a de novo review of the Defendant’s Motion, the Magistrate Judge’s Report and

  Recommendation, pertinent portions of the record and being otherwise fully advised in the

  premises, it is

          ORDERED and ADJUDGED that the Magistrate Judge’s Report and Recommendation

  is hereby AFFIRMED. Defendant's Motion to Suppress Evidence and for a Franks Hearing [DE

  312] is DENIED.

          DONE and ORDERED in Chambers at West Palm Beach, Florida, this 13th day of

  February, 2013.

                                                     ____________________________________
                                                     KENNETH A. MARRA
                                                     United States District Judge
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  Copies furnished to:

  Magistrate Judge James M. Hopkins
  All counsel




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